             Case 1:23-cv-00364-SAG Document 47 Filed 10/30/23 Page 1 of 3



                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

RITA TESSU, individually, and on                            )
behalf of all others similarly situated,                    )
                                                            )
        Plaintiff,                                          )
                                                            )       Case No: 1:23-cv-00364-SAG
v.                                                          )
                                                            )
ADAPTHEALTH, LLC,                                           )
                                                            )
        Defendant.                                          )


                                      Xxxxxxxxx SCHEDULING PLAN
                               JOINT PROPOSED
        The parties hereby submit the following Proposed Scheduling Plan:

        a.           Deadline for joinder of additional parties or amendment of pleadings: January 12,

2024;

        b.           Class Certification: Plaintiff shall move for class certification on or before July 26,

2024. Defendant’s opposition brief shall be filed within 28 days of Plaintiff filing her motion.

Plaintiff shall file her reply memorandum in support of class certification within 14 days of

Defendant filing its opposition brief.

        c.           Discovery plan:

              (i)       Counsel do not anticipate any issues concerning electronically-stored

                        discovery. The parties agree to produce the requested records in PDF, Excel or

                        other widely accessible formats;

              (ii)      All issues concerning work-product will be raised in objections to discovery

                        with a corresponding privilege log. The parties will make all reasonable efforts

                        to resolve such disputes;

              (iii)     Discovery need not be conducted in phases or limited to certain issues;
            Case 1:23-cv-00364-SAG Document 47 Filed 10/30/23 Page 2 of 3



             (iv)      The parties do not anticipate any variance from the presumptive deposition and

                       interrogatory limits;

             (v)       The parties do not anticipate that any physical or mental examinations of parties

                       will be requested;

             (vi)      Expert discovery:

                       a. Plaintiff shall make any disclosures required by Rule 26(a)(2)(A)-(B) by

                           April 5, 2024;

                       b. Defendant shall depose Plaintiff’s expert(s) by April 26, 2024;

                       c. Defendant shall make any disclosures required by Rule 26(a)(2)(A)-(B) by

                           May 17, 2024;

                       d. Plaintiff shall depose Plaintiff’s experts by June 7, 2024.

             (vii)     All discovery to be completed and submission of Status Report by June 28,
                       2024;


       d.           Plaintiff requests that a deadline for filing of summary judgment motions and other

dispositive motions be set after the Court’s ruling on Plaintiff’s motion for class certification.

Some courts hold that a Court should not rule on a Plaintiff’s motion for summary judgment

before determining whether class certification is appropriate. See Paxton v. Union Nat’l Bank,

688 F.2d 552 (8th Cir. 1982); Wilson v. Am. Cablevision of Kansas City, Inc., 130 F.R.D. 404

(W.D. Mo. 1990); Owens v. Hellmuth & Johnson, PLLC, 550 F.Supp.2d 1060 (D. Minn. 2008).

This will not hinder Defendant from its ability to file dispositive motions.




                                                     2
             Case 1:23-cv-00364-SAG Document 47 Filed 10/30/23 Page 3 of 3



        e.       The parties request that a trial date be set after the Court’s ruling on class

certification.

        Dated: October 30, 2023

 BUTSCH ROBERTS AND ASSOCIATES LLP                     K&L GATES LLP

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                                                       Attorneys for Defendant




                                                      _______/s/_____________________
             Dated: October 30, 2023
                                                      Stephanie A. Gallagher
                                                      United States District Judge




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